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                                                                  STATES BANKRUPTCY  of 4
                                                             NORTHERN DISTRICT OF GEORGIA

IN RE: Sherry Nicole Harris                                                                               :       Case No.:

                                                                                                          :

       DEBTORS                                                                                            :       CHAPTER 13

                                                                                                          :

                                                                        CHAPTER 13 PLAN

 [] Extension                                                                   Composition

      You should read this Plan carefully and discuss it with your attorney. Confirmation of this Plan by the Bankruptcy Court may modify your rights by
providing for payment of less than the full amount of your claim, by setting the value of the collateral securing your claim, and/or by setting the interest rate on
your claim.
Debtor or Debtors (hereinafter called "Debtor") proposes this Chapter 13 Plan:
1. Submission of Income. Debtor submits to the supervision and control of the Chapter 13 Trustee (“Trustee”) all or such portion of future earnings or other
future income of Debtor as is necessary for the execution of this Plan.

2. Plan Payments and Length of Plan. Debtor will pay the sum of $350.00 per month to Tustee by          Payroll Deduction(s) or by [] Direct Payment(s) for the
applicable commitment period of 36 months, unless all allowed claims in every class, other than long-term claims, are paid in full in a shorter period of time.
The term of this Plan shall not exceed sixty (60) months. See 11 U.S.C. §§ 1325(b)(1)(B) and 1325(b)(4). Each pre- confirmation plan payment shall be reduced
by any pre-confirmation adequate protection payment(s) made pursuant to Plan paragraph 6(A)(i) and § 1326(a)(1)(C).
       The following alternative provision will apply if selected:
       [] IF CHECKED, Plan payments will increase by $___ monthly in ___, upon completion or termination of ___. The additional funds shall be disbursed
       pro-rata to all claims being funded at the time of the increase.
3. Claims Generally. The amounts listed for claims in this Plan are based upon Debtor’s best estimate and belief. An allowed proof of claim will
be controlling, unless the Court orders otherwise. Objections to claims may be filed before or after confirmation.
4. Administrative Claims. Trustee will pay in full allowed administrative claims and expenses pursuant to §507(a)(2) as set forth below, unless the holder of
such claim or expense has agreed to a different treatment of its claim.
       A.    Trustee's Fees. The Trustee shall receive a statutory fee in an amount established by the Attorney General and the United States Trustee.
       B. Debtor's Attorney's Fees. Debtor and Debtor's attorney have agreed to base attorney fee in the amount of $4,250.00 for the services identified in the
       Rule 2016(b) disclosure statement filed in this case. The amount of $25.00 was paid prior to the filing of the ase. The Trustee shall disburse the unpaid
       amount of the fee, $4,225.00, as allowed under General Order 18-2015 , as follows:
       (1) Upon the first disbursement following confirmation of a Plan, the Trustee shall disburse to Debtor’s attorney from the funds available and paid into
       the office of the Trustee by Debtor or on Debtor’s behalf, up to $4,225.00 after the payment of any payments under 11 U.S.C. § 1326(a)(1)(B) or (C) and
       administrative fees. The remaining balance of the fees shall be paid up to $228.00 per month until the fees are paid in full; (2) If the case is converted
       prior to confirmation of the plan, Debtor directs the Trustee to pay fees to Debtor's attorney from the funds available of $2,000 (amount not to exceed
       $2,000); (3) If the case is dismissed prior to confirmation of the plan, fees for Debtor's attorney of $2,000 as set forth on the 2016(b) disclosure statement
       (amount not to exceed $2,000) are allowed pursuant to General Order 12-2015 and shall be paid by the Trustee from the funds available without a fee
       application. Debtor's attorney may file a fee application for the fees sought over $2,000.00 within 10 days of the Order of Dismissal; (4) If the case
       is converted after confirmation of the plan, Debtor directs the Trustee to pay to Debtor's attorney from the funds available, any allowed fees which are
       unpaid; and (5) If the case is dismissed after confirmation of the plan, Trustee shall pay to Debtor's attorney from the funds available, any allowed fees
       which are unpaid.
       Debtor and Debtor (s) attorney have further agreed that Debtor(s) attorney may be paid for “non base services” as they are performed on an as needed
       basis. These “non base services”, and the agreed fee for each, are identified in Paragraph 6 of the Rule 2016(b) disclosure statement in this case. Upon
       completion of a non base service, Debtor’s attorney may file an application with the court, serving all parties-in-interest with notice of the application and
       providing an opportunity to be heard on the matter. If the non base fee is approved by the court, then the fee shall be added to the balance of the unpaid
       base fee in this case and paid in accordance with this paragraph. If the base fee has been paid in full, then the fee shall be paid up to $228.00 per month,
       and the distribution to creditors shall be reduced, pro rata, by the amount until the additional fee is pain is full.
5.   Priority Claims.
       (A) Domestic Support Obligations.


     None. If none, skip to Plan paragraph 5(B).


       (i) Debtor is required to pay all post-petition domestic support obligations directly to the holder of the claim.
       (ii) The name(s) and addresse(s) of the holder of any domestic support obligation are as follows. See 11 U.S.C. § 101(14A) and 1302(b)(6).


       (iii) Anticipated Domestic Support Obligation Arrearages Claims
                (a) Unless otherwise specified in this Plan, priority claims under 11 U.S.C. § 507(a)(1) will be paid in full pursuant to 11 U.S.C. § 1322(a)(2).
                These claims will be paid at the same time as claims secured by personal property, arrearage claims secured by real property, and arrearage
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                 claims for assumed leases or executory contracts.              Page 2 of 4

    None


                 (b) Pursuant to §§ 507(a)(1)(B) and 1322(a)(4), the following domestic support obligation claims are assigned to, owed to, or recoverable by a
                 governmental unit.

                      None; or
                 Claimant and proposed treatment:
       (B) Other Priority Claims (e.g., tax claims). These priority claims will be paid in full, but will not be funded until after all secured claims, lease arrearage
       claims, and domestic support claims are paid in full.

                                                     (a)                                                                                      (b)
                                                   Creditor                                                                             Estimated Claim

Internal Revenue Service                                                                                          $4,000.00

Georgia Department of Revenue                                                                                     $0.00

6. Secured Claims.
       (A) Claims Secured by Personal Property Which Debtor Intends to Retain.
                 (i) Pre-confirmation adequate protection payments . No later than 30 days after the date of the filing of this plan or the order for relief, whichever
                 is earlier, the Debtor shall make the following adequate protection payments to creditors pursuant to § 1326(a)(1)(C). If the Debtor elects to make
                 such adequate protection payments on allowed claims to the Trustee pending confirmation of the plan, the creditor shall have an administrative
                 lien on such payment(s), subject to objection. If Debtor elects to make such adequate protection payments directly to the creditor, Debtor shall
                 provide evidence of such payment to the Trustee, including the amount and date of the payment.
                 Debtor shall make the following adequate protection payments:
                 [] directly to the creditor; or

                      to the Trustee pending confirmation of the plan.

               (d)                                        (e)                                                                     (f)
           Creditor                                  Collateral                                             Adequate protection payment amount

GM Financial                       2013 Chevrolet Cruze                             $100.00

                 (ii) Post confirmation payments . Post-confirmation payments to creditors holding claims secured by personal property shall be paid as set forth
                 in subparagraphs (a) and (b). If Debtor elects to propose a different method of payment, such provision is set forth in subparagraph (c).
                          (a) Claims to Which § 506 Valuation is NOT Applicable. Claims listed in this subsection consist of debts secured by a purchase money
                          security interest in a vehicle for which the debt was incurred within 910 days of filing the bankruptcy petition, or, if the collateral for the
                          debt is any other thing of value, the debt was incurred within 1 year of filing. See § 1325(a)(5). After confirmation of the plan, the
                          Trustee will pay to the holder of each allowed secured claim the monthly payment in column (f) based upon the amount of the claim in
                          column (d) with interest at the rate stated in column (e). Upon confirmation of the plan, the interest rate shown below or as modified will
                          be binding unless a timely written objection to confirmation is filed and sustained by the Court. Payments distributed by the Trustee are
                          subject to the availability of funds.

      (g)                    (h)                        (i)                            (j)                             (k)                            (l)
    Creditor              Collateral               Purchase date                  Claim amount                    Interest rate                 Monthly payment

None

                          (b) Claims to Which § 506 Valuation is Applicable. Claims listed in this subsection consist of any claims secured by personal property
                          not described in Plan paragraph 6(A)(ii)(a). After confirmation of the plan, the Trustee will pay to the holder of each allowed secured
                          claim the monthly payment in column (f) based upon the replacement value as stated in column (d) or the amount of the claim,
                          whichever is less, with interest at the rate stated in column (e). The portion of any allowed claim that exceeds the value indicated below
                          will be treated as an unsecured claim. Upon confirmation of the plan, the valuation and interest rate shown below or as modified will be
                          binding unless a timely written objection to confirmation is filed and sustained by the Court. Payments distributed by the Trustee are
                          subject to the availability of funds.

      (m)                        (n)                     (o)                    (p)                    (q)                                    (r)
    Creditor                  Collateral            Purchase date        Replacement value        Interest rate                         Monthly payment

GM Financial         2013 Chevrolet Cruze          2013               $9550.00                   5.25%             $100.00 increasing to $328.00 in June 2019



                          (c) Other provisions.
                 (B) Claims Secured by Real Property Which Debtor Intends to Retain. Debtor will make all post-petition mortgage payments directly to each
                 mortgage creditor as those payments ordinarily come due. These regular monthly mortgage payments, which may be adjusted up or down as
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                 provided for under the loan documents, are due  Document                Page
                                                                    beginning the first due        3 of
                                                                                            date after the 4
                                                                                                           case is filed and continuing each month thereafter, unless
                 this Plan provides otherwise. Trustee may pay each allowed arrearage claim at the monthly rate indicated below until paid in full. Trustee will
                 pay interest on the mortgage arrearage if the creditor requests interest, unless
                 an objection to the claim is filed and an order is entered disallowing the requested interest.

    (s)                          (t)                                        (u)                                                        (v)
  Creditor              Property description                  Estimated pre-petition arrearage                         Projected monthly arrearage payment

-NONE-

                 (C) Surrender of Collateral. Debtor will surrender the following collateral no later than thirty (30) days from the filing of the petition unless
                 specified otherwise in the Plan. Any claim filed by a secured lien holder whose collateral is surrendered will be treated as unsecured. Any
                 involuntary repossession/foreclosure prior to confirmation of this Plan must be obtained by a filed motion and Court order, unless the automatic
                 stay no longer applies under § 362(c). Upon Plan confirmation, the automatic stay will be deemed lifted for the collateral identified below for
                 surrender and the creditor need not file a Motion to Lift the Stay in order to repossess, foreclose upon or sell the collateral. Nothing herein is
                 intended to lift any applicable co-Debtor stay, or to abrogate Debtor’s state law contract rights.

                   (w)                                                                                   (x)
                 Creditor                                                                   Collateral to be surrendered

-NONE-

7. Unsecured Claims. Debtor estimates that the total of general unsecured debt not separately classified in Plan paragraph 10 is $225,464.00 After all other
classes have been paid, Trustee will pay to the creditors with allowed general unsecured claims a pro rata share of $0.0 or 0.00%, whichever is greater. Trustee is
authorized to increase this dollar amount or percentage, if necessary, in order to comply with the applicable commitment period stated in paragraph 2 of this Plan.
8. Executory Contracts and Unexpired Leases. The following executory contracts and unexpired leases are assumed, and payments due after the filing of the case
will be paid directly by Debtor, not through Trustee, as set forth below in column (c).
Debtor proposes to cure any default by paying the arrearage on the assumed leases or contracts in the amounts projected in column (d) at the same time that
payments are made to secured creditors. All other executory contracts and unexpired leases of personal property are rejected upon conclusion of the
confirmation hearing.

                                         (b)                              (c)                                                    (d)
        (a)
                            Nature of lease or executory     Payment to be paid directly by      Projected arrearage monthly payment through plan (for informational
      Creditor
                                      contract                          Debtor                                                purposes)

The Columns at
                         Residential Lease                  $899.00                              0.00
Vinings

9. Property of the Estate. Property of the estate shall not vest in Debtor until the earlier of Debtor’s discharge or dismissal of this case, unless the Court orders
otherwise.
10. Other Provisions:
       (A) Special classes of unsecured claims.


       (B) Other direct payments to creditor.
       Student Loans will be paid directly by debtor.


       (C) Any tax refund that is issued to the Debtor during the Applicable Commitment Period, greater than $1,500.00, shall be paid into the Debtor's Chapter
       13 case; any tax refund less than $1,500 (or up to $1,500 of any tax refund) may be retained by the Debtor upon written request to the Trustee. Further,
       the Debtor instructs and authorizes the Internal Revenue Service or any other applicable tax agency to send any refund issued during the Applicable
       Commitment Period directly to the Debtor's Chapter 13 Trustee.
       (D) Any creditor which are to be paid directly under this plan are authorized and encouraged to send monthly billing statements to the debtor(s) at the
       mailing address on record with the Bankruptcy Court in this case.
       (E) Other allowed secured claims: A proof of claim which is filed and allowed as a secured claim, but is not treated specifically under the plan, shall be
       funded with 5.25% interest as funds become available after satisfaction of the allowed secured claims which have been treated by the plan and prior to
       payment of allowed non-administrative priority claims (except domestic support obligation claims as set forth in paragraph 5(A), above) and general
       unsecured claims. Notwithstanding the foregoing, the Debtor or any other party in interest may object to the allowance of the claim.
       (F) Claims subject to lien avoidance pursuant to 11 U.S.C. §522(f): The allowed secured claim of each creditor listed below shall not be funded until all
       allowed, secured claims which are being treated by the plan are satisfied. If an order is entered avoiding the creditor's lien, that creditor's claim shall be
       treated as a general, unsecured claim to the extent it is not otherwise secured by property of the estate and treated by the plan. To the extent that the
       creditor's lien is not avoided and is not otherwise treated by the plan, the secured claim shall be funded as set forth in the above paragraph. This
       paragraph shall apply to the following creditors:
       "Merchants Acceptance"
       (G) Any fees, expenses, and charges asserted under Fed. R. Bankr. P. 3002.1(c) are not to be funded and Debtor will pay these post-petition expenses
       outside the plan unless the Court has disallowed them on a Motion filed under Fed. R. Bankr. P. 3002.1(e).
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                                                     /s/ Sherry Nicole Harris

/s/ Howard Slomka 652875                            Signature of Debtor

Debtor's Atorney

                                                    Signature of Joint Debtor
